







		NO. 12-09-00121-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




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IN RE: DAVID GEORGE BAUGH,

RELATOR§
	ORIGINAL PROCEEDING


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MEMORANDUM OPINION


PER CURIAM


	David George Baugh seeks release from his confinement in the Cherokee County Jail.  He
complains that the trial court has refused to release him on a personal recognizance bond pending
trial despite his proven indigence.

	Baugh has designated his request for relief as an "Emergency Petition for Writ of
Mandamus."  However, it is the substance of a document that governs, and not the title.  Ex parte
Caldwell, 58 S.W.3d 127, 130 (Tex. Crim. App. 2000).  Baugh is, in effect, seeking pretrial habeas
relief.  Therefore, we construe the filed document as an application for a pretrial writ of habeas
corpus.  

	The Texas Government Code provides as follows:


	Concurrently with the supreme court, the court of appeals of a court of appeals district in which a
person is restrained in his liberty, or a justice of the court of appeals, may issue a writ of habeas corpus
when it appears that the restraint of liberty is by virtue of an order, process, or commitment issued by
a court or judge because of the violation of an order, judgment, or decree previously made, rendered,
or entered by the court or judge in a civil case. Pending the hearing of an application for a writ of
habeas corpus, the court of appeals or a justice of the court of appeals may admit to bail a person to
whom the writ of habeas corpus may be granted.



Tex. Gov't Code Ann. § 22.221(d) (Vernon 2004).  Thus, the original jurisdiction of courts of
appeals to issue a writ of habeas corpus is limited to those cases in which a person's liberty is
restrained because the person has violated an order, judgment, or decree entered in a civil case.  Id.
Consequently, courts of appeals do not have original habeas corpus jurisdiction in criminal law
matters.  Dodson v. State, 988 S.W.2d 833, 835 (Tex. App.-San Antonio 1999, no pet.); Ex parte
Hawkins, 885 S.W.2d 586, 588 (Tex. App.-El Paso 1994, no pet.).  In such matters, their jurisdiction
is appellate only.  Dodson, 988 S.W.2d at 835.  Because Baugh seeks habeas relief in an original
proceeding, we are without jurisdiction to consider his application.  Accordingly, we dismiss Baugh's
application for want of jurisdiction.

Opinion delivered June 17, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.































(DO NOT PUBLISH)


